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DCP:DGR/DAS
F. #2016R00467

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
– – – – – – – – – – – – – – – – –X

UNITED STATES OF AMERICA                            ORDER

             - against -                            18 CR 538 (S-2) (MKB)

NG CHONG HWA,
     also known as “Roger Ng,”

                           Defendant.

– – – – – – – – – – – – – – – – –X

               WHEREAS the defendant in the above-captioned matter was temporarily

surrendered to the United States to stand trial in this District pursuant to the Extradition Treaty

Between the Government of the United States and the Government of Malaysia (the “Treaty”);

               WHEREAS the defendant was convicted on April 8, 2022, of two counts of

conspiracy to violate the Foreign Corrupt Practices Act (Counts One and Two) and one count of

conspiracy to commit money laundering (Count Three);

               WHEREAS the defendant was sentenced by this Court on March 9, 2023,

principally to 120 months’ incarceration, composed of 60 months on Counts One and Two, to

run concurrently with one another, and 60 months on Count Three, to run consecutively to the

sentence imposed on Counts One and Two;

               WHEREAS the defendant’s current surrender date to the Federal Bureau of

Prisons (“BOP”) to commence service of his 120-month prison sentence is set for October 6,

2023; and
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               WHEREAS the governments of the United States and Malaysia have agreed to

return the defendant to Malaysia on or before October 6, 2023, pursuant to the Treaty;

               IT IS HEREBY ORDERED that the defendant’s October 6, 2023 surrender date

to the BOP is vacated;

               IT IS FURTHER ORDERED that the defendant shall be remanded to the custody

of the U.S. Marshals Service (“USMS”) on October 6, 2023, at a time to be determined by the

USMS, to effectuate his return to Malaysia;

               IT IS FURTHER ORDERED that the defendant’s surrender date to the BOP to

commence service of his 120-month incarceratory sentence is adjourned sine die; and

               IT IS FURTHER ORDERED that the defendant shall immediately be surrendered

to the BOP to commence service of his 120-month incarceratory sentence immediately upon his

return to the United States.

Dated: Brooklyn, New York
                5
       October ___, 2023



                                               THE HONORABLE MARGO K. BRODIE
                                               CHIEF UNITED STATES DISTRICT JUDGE
                                               EASTERN DISTRICT OF NEW YORK




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